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      AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev. Ol/2013)



                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Central District of California

                        In the Matter of the Search of                           )
                  (Briefly describe the property [o be searched                   ~                  ~~
                   or identify the person by name and address)                    ~ CaSe NO.                                ,~~.~
                                                                                                                              •~         ,,.~
     One Dell Inspirion 15 Computer, serial number 9M57412;                      )
     One Toshiba Satellite Laptop, serial number 3C134203R;                      )                                                       -_
       One Toshiba Satellite Laptop with a broken screen,                        ~                                                       _-,
                  with an illegible serial number.
                                                  SEARCH AND SEIZURE WARRANT
                                                                                                                                                        .~
     To:       Any authorized law enforcement officer                                                                                                   i:.:~
              A n application by a federal law enforcement officer or an attorney for the government requests t~l~e sear~frli
     of the following person or property located in the          Central___        District of __ ____      lifornia -~.-                        ----
     (identrfy the person or describe the property to be searched and give its locationj:
          See Attachment A

               The person or property to be searched, described above, is believed to conceal (rdenrtfv the person or des~r~h~ ~~:e
     property [o be seized):
           See Attachment B


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property. Such affidavits) or testimony are incorporated herein by reference and attached hereto.

               YOU ARE COMMANDED to execute this warrant on or before                             14 days from the date of its issuance
                                                                                                               (not to exceed !4 dm~s~
               in the daytime 6:00 a.m. to ]0 p.m.                 ~ at any time in the day or night as I find reasonable cause has been
                                                                     established.

              Unless delayed notice is authorized below, you mist give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
     inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
     on duty at the time of the return through a filing with the Clerk's Office.
                                     (name)

           ~ I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
     searched or seized (~~he~k the appropriate boxy ~ for            days (nor to eX~~~d 30).
                                                           ~ until, the facts justifying, the 1     specific date of


     Date and timeissued:          ~~— ZZ„—/~. 2~-~
                                                                                                                                    __          _ -
                                                                                                        Ji~dge 's i     nt rre
                                                                                                    F redenc~C~', ~umm
     City and state:      Los Angeles, California                                     _             U.S. Magistrate Judge
                                                                                                      P~~rri[ed ~ia~~~e and title



AUSA: J. Mitchell (x10698)

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                                                                    Return
      Case No.:                             Date nd ti e warrant executed:         Copy ofwarrant and inventory left with:
        ~b - 1~ 1 ~ ►'~                         I?~~ 23 ~e     ~I Zo ~rM                    LYDi         s~-~
     Inventory made in the presence of
                             S          NDSA             ~3~~R-b — C o o ~c.
     Inventory of the property taken and name of any persons) seized:
     [Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]



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                                                                 Certi [cation b officer resent Burin the execution of the warrant


     Ideclare under penalty ofperjury thatIa~n an officer who executed this warrant and that this inventory is cor~~ec/ and
     was returned along with the original warrant to the designatedjudge through a filing with fhe Clerk's Office.




     Date:      ~ ~        ~~
                                                                                                                               __
                                                                                          Executrrzg o~ce~ s signature




                                                                                             Printed name and tide




AUSA: J. Mitchell (x10698)
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                               Attachment A

PROPERTY TO BE SEARCHED

      The following digital devices (the "SUBJECT DIGITAL

DEVICES"), seized on July 15, 2015 and currently maintained in

the custody of the Federal Bureau of Investigation in Los

Angeles, California:

            a.    One (1) Dell Inspirion 15 Computer, bearing

serial number 9M57412;

            b.    One (1) Toshiba Satellite Laptop, bearing serial

number 3C134203R; and

            c.    One (1) Toshiba Satellite Laptop with a broken

screen, with an illegible serial number.




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                               ATTACHMENT B

I. ITEMS TO BE SEARCHED

      1.      The items to be searched are evidence, contraband,

fruits, or instrumentalities of violations of Title 18, United

States Code, Section 2252A(a)(2) (receipt and distribution of

child pornography); and 2252(a)(5)(B) (possession of child

pornography), namely:

             a.   Child pornography, as defined in 18 U.S.C.

~ 2256(8).

             b.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer to child pornography, as defined in 18 U.S.C.

§ 2256(8), including but not limited to, documents that refer to

the possession, receipt, distribution, transmission,

reproduction, viewing, sharing, purchase, or downloading,

production, shipment, order, requesting, trade, or transaction

of any kind, involving child pornography.

             c.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

tending to identify persons involved in the possession, receipt,

distribution, transmission, reproduction, viewing, sharing,

purchase, or downloading, production, shipment, order,

requesting, trade, or transaction of any kind, involving child

pornography, as defined in 18 U.S.C. § 2256(8).


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            d.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that identify any minor visually depicted while engaging in

sexually explicit conduct, as defined in 18 U.S.C. § 2256(2)(B).

            e.    Any records, documents, programs, applications,

or materials or items which are sexually arousing to individuals

 who are interested in minors, but which are not in and of

themselves obscene or which do not necessarily depict minors

involved in sexually explicit conduct.         Such material is

commonly known as "child erotica" and includes written materials

dealing with child development, sex education, child

pornography, sexual abuse of children, incest, child

prostitution, missing children, investigative techniques of

child exploitation, sexual disorders, pedophilia, nudist

publications, diaries, and fantasy writings.

            f.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that pertain to peer-to-peer file-sharing software.

            g.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that pertain to accounts with any Internet Service Provider.

            h.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

regarding ownership and/or possession of the SUBJECT PREMISES.



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            i.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

regarding ownership and/or possession and/or use of any digital

devices) found inside the SUBJECT PREMISES.

            j.    Any digital device used to facilitate the above-

listed violations and forensic copies thereof.


      2.    With respect to any digital device used to facilitate

the above-listed violations or containing evidence falling

within the scope of the foregoing categories of items to be

seized:
                  a.    Evidence of who used, owned, or controller

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                  b.   Evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                  c.   Evidence of the attachment of other devices;




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                  d.   Evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                  e.   Evidence of the times the device was used;

                  f.   Passwords, encryption keys, and other access

devices that may be necessary to access the device;

                  g,   Applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                  h.   Records of or information about Internet

Protocol addresses used by the device;

                  i.   Records of or information -about the device's

.Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

      3.    As used herein, the terms "records,"       ~~documents,"


"programs," "applications," and "materials" include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

      4.    As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing



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data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; peripheral input/output devices, such

as keyboards, printers, scanners, plotters, monitors, and drives

intended for removable media; related communications devices,

such as modems, routers, cables, and connections; storage media,

such as hard disk drives, floppy disks, memory cards, optical

disks, and magnetic tapes used to store digital data (excluding

analog tapes such as VHS); and security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      5.    In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

            a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the "search team") will, in

their discretion, either search the digital device (s) on-site or

seize and transport the device(s) to an appropriate law

enforcement laboratory or similar facility to be searched at

that location.

            b.   The search team shall complete the search as soon

as is practicable but not to exceed 90 days from the date of

execution of the warrant.      If additional time is needed, the



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 government may seek an extension of this time period from the

 Court on or before the date by which the search was to have been

 completed.

              c.   The search team will conduct the search only by

 using search protocols specifically chosen to identify only the

 specific items to be seized under this warrant.

                      i.       The search team may subject all of the

 data contained in each digital device capable of containing any

 of the items to be seized to the search protocols to determine

 whether the device and any data thereon falls within the list of

 items to be seized.       The search team may also search for and

 attempt to recover deleted, "hidden," or encrypted data to

 determine, pursuant to the search protocols, whether the data

 falls within the list of items to be seized.

                     ii.       The search team may use tools to

 exclude normal operating system files and standard third-party

 software that do not need to be searched.

                    iii.       The team searching the digital data

 also may use sophisticated tools, such as forensic hashing

 tools, to identify child pornography (including, but not limited

 to, "Encase" and "Forensic Tool Kit," or "FTK")          Forensic

 hashing is the process of using a mathematical function, often

 called an algorithm, to generate a numerical identifier for data

 (such as a particular file).      If the data is changed, even very



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 slightly (such as the addition or deletion of a comma or a

 period), the identifier should change.        A hash value can be

 thought of as a "digital. fingerprint" for data.        The team

 searching digital devices in this case will also use a "hash

 set," which contains the hash values of image and video files

 associated with known identified victims of child pornography to

 determine whether these files are stored within a digital

 device.   Because this "hash set" is constantly being updated as

 investigations result in the rescue of children depicted in

 child pornography images/videos, it will not contain the hash

 values of all currently identified image and video files.           The

 team searching the digital devices will,~only use search

 protocols specifically selected to identify items to be seized

 under this warrant.

            d.    When searching a digital device pursuant to the

 specific search protocols selected, the search team shall make

 and retain notes regarding how the search was conducted pursuant

 to the selected protocols.

            e.    If the search team, while searching a digital

 device, encounters immediately apparent contraband or other

 evidence of a crime outside the scope of the items to be seized,

 the team shall immediately discontinue its search of that device

 pending further order of the Court and shall make and retain

 notes detailing how the contraband or other evidence of a crime



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 was encountered, including how it was immediately apparent

 contraband or evidence of a crime.

            f.    If the search determines that a digital device

 does not contain any data falling within the list of items to be

 seized, the government will, as soon as is practicable, return

 the device and delete or destroy all forensic copies thereof.

            g.    If'the search determines that a digital device

 does contain data falling within the list of items to be seized,

 the government may make and retain copies of such data, and may

 access such data at any time.

            h.    If the search determines that a digital device is

 (1) itself an item to be seized and/,or (2) contains data falling

 within the list of items to be seized, the government may retain

 forensic copies of the digital device but may not access them

 (after the time for searching the device has expired) absent

 further court order.

            i.    The government may retain a digital device itself

 until further order of the Court or one year after the

 conclusion of the criminal investigation or case (whichever is

 latest), only if the device is determined to be an

 instrumentality of an offense under investigation or the

 government, within 14 days following the time period authorized

 by the Court for completing the search, obtains an order from

 the Court authorizing retention of the device (or while an



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 application for such an .order is pending).       Otherwise, the

 government must return the device.

            j.    Notwithstanding the above, after the completion

 of the search of the digital devices, the government shall not

 access digital data falling outside the scope of the items to be

 seized absent further order of the Court.

       6.   The special procedures relating to digital devices

 found in this warrant govern only the search of digital devices

 pursuant to the authority conferred by this warrant and do not

 apply to any search of digital devices pursuant to any other

 court order.




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                                 T TTTTTTTTT




       I, Lydia Sakae, being duly sworn, declare and state as

 follows:
                              I. INTRODUCTION


       1.    I am a peace officer for the City of Los Angeles and

 have been so employed for over nine years.         I am currently a

 Task Force Officer ("TFO") with the Federal Bureau of

 Investigation ("FBI") and have been assigned to investigate the

 sexual exploitation of children and child pornography in the

 Central District of California as part of the Southern

 California Regional Sexual Assault Felony Enforcement ("SAFE")

 Team. -   The SAFE Team is responsible for enforcing federal

 criminal statutes involving the sexual exploitation of children

 under Title 18, United States Code, Section 2251, et seq.           I

 have participated in several child pornography investigations

 and executions of search warrants concerning those offenders.           I

 have received approximately 20 hours of specialized training on

 cases involving sex crimes and the distribution of child

 pornography on the Internet.      Additionally, I have attended a

 Child Exploitation seminar, which focused on child predators and

 their Internet use of websites and applications.          Prior to .being

 assigned as a TFO, I was an investigator with the Los Angeles

 Police Department ("LAPD"), Operation Valley Bureau ("OVB"),

 Registration Enforcement and Compliance Team ("REACT")            OVB

 REACT is responsible for sex registration and compliance

 enforcement, per California Penal Code section 290, of convicted




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 sex offenders who reside within the San Fernando Valley

 jurisdiction of LAPD.

       2.   Through both my training and my experience, I have

 become familiar with the methods of operation used by people who

 commit offenses involving the sexual exploitation of children,

 and how people use the Internet to commit crimes arising from,

 and related to, the sexual exploitation of children.

                        II. PURPOSE OF AFFIDAVIT

       3.   This affidavit is submitted in support of an

 application for a warrant to search three digital devices that

 are currently in the custody of the FBI (the "SUBJECT DIGITAL

 DEVICES") for evidence, fruits, and instrumentalities of

 violations of Title 18, United States Code, Section 2252A(a)

 (2) (receipt and distribution of child pornography); and

 2252(a)(5)(B) (possession of child pornography).

      4.    The facts set forth in this affidavit are based on my

 personal observations, my training and experience, information

 obtained from various law enforcement personnel and witnesses,

 including FBI Special Agent's (SA), TFO's, analysts, and

 computer forensic professionals, written reports about this and

 other investigations that I have received, directly or

 indirectly, from other law enforcement agents, information

 gathered from the service of administrative subpoenas, and

 information obtained from physical and electronic surveillance

 conducted by law enforcement agents.        This affidavit is intended

 to show merely that there is sufficient probable cause for the




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 requested warrant and does not purport to set forth all of my

 knowledge of, or investigation into, this matter.         Unless

 specifically indicated otherwise, all conversations and

 statements described in this affidavit are related in substance

 and in part only.

                        I2I. ITEMS TO BE SEARCHED


      5.    The items to be searched (the "SUBJECT DIGITAL

 DEVICES") are three digital devices (one computer tower, and two

 laptop computers) that were seized pursuant to a federal search

 warrant on or about July 15, 2015, from Faisal Mirza's

 residence, located at 18443 Chatsworth Street, Northridge,

 California 91326 (the "SUBJECT PREMISES")         The SUBJECT DIGITAL

 DEVICES are in possession of the FBI's Los Angeles Field Office,

 and are more particularly described as follows:

            a.    One (1) Dell Inspirion 15 Computer, bearing

 serial number 9M57412;

            b.    One (1) Toshiba Satellite Laptop, bearing serial

 number 3C134203R; and

            c.    One (1) Toshiba Satellite Laptop with a broken

 screen, with an illegible serial number.

                           IV.   PROBABLE CAUSE


      6.    On or about July 10, 2015, Special Agent (SA) Tiana

 Kostic obtained a federal search warrant (Case No. 15-1290M)

issued by the Honorable Jacqueline Chooljian, United States

Magistrate Judge, authorizing the search of the property located

at 18443 Chatsworth Street, Northridge, California 91326 (the


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 "SUBJECT PREMISES")      The warrant is attached hereto as an

 exhibit and is incorporated as if fully set forth herein.

       7:   The search warrant was issued in response to an

 investigation into an online community of individuals who

 regularly sent and received child pornography via a website

 (hereinafter "Website A") that operated on an anonymous online

 network (hereinafter the "Network"). 1       The investigation was

 initiated by FBI - Headquarters (HQ) and later reassigned to the

 FBI- Los Angeles Field Office's ("LAFO") SAFE TEAM due to the

 location of the SUBJECT INTERNET PROTOCOL (IP) ADDRESS.

       8.   In summary, the affidavit in support of the search

 warrant application in the attached exhibit explains that the

 investigation revealed that a user (known as "quadrupledomo"),

 operating from the SUBJECT IP ADDRESS assigned to the SUBJECT

 PREMISES, utilized an account, created on Website A to browse

 Website A, accessed and responded to posts containing links to

 images of child pornography. (See attached exhibit, affidavit

 pages 20-21)




     '-The actual names of Website A and the Network are known to
 law enforcement. However, the investigation into the users of
 Website A and the Network remains ongoing, and the disclosure of
 the names of Website A and the Network would potentially alert
 their members to the fact that law enforcement officers are
 investigating Website A and the Network. Public disclosure of
 that fact is likely to provoke members to notify other members
 of the investigation, flee, and/or destroy evidence.
 Accordingly, to preserve the confidentiality and integrity of
 the ongoing investigation, the actual names and other
 identifying details of Website A and the Network are not
 disclosed in this affidavit.



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       9.      The original warrant and affidavit in support thereof,

 authorized the specific seizure of digital devices from the

 SUBJECT PREMISES, and the search of those devices for a period

 of 60 days to allow the government to attempt to obtain evidence

 of violations of Title 18, United States Code, Section 2252A(a)

 (2) (receipt and distribution of child pornography); and

 2252(a)(5)(B) (possession of child pornography).

       10.     On July 15, 2015, members of the FBI - SAFE Team

 executed the warrant at the SUBJECT PREMISES and seized the

 SUBJECT DIGITAL DEVICES.      During the search of tie SUBJECT

 PREMISES, the SUBJECT DIGITAL DEVICES were seized, among other

 evidence. -    Subsequent to the execution of the warrant, the

 occupants of the SUBJECT PREMISES were interviewed by SA Kostic

 and SA Rajiv Patel.      Faisal Mirza, a resident of the SUBJECT

 PREMISES, confessed to the interviewing agents that he possessed

 approximately 10 to 15 video files of possible child

 pornography, which he downloaded from website A utilizing the

 screen name "quadrupledomo."      Faisal Mirza stated that the video

 files contained images of females approximately 10 years of age.

 Faisal Mirza further admitted that the child pornography video

 files were stored on the SUBJECT DIGITAL DEVICES.

      11.      The original warrant authorized a 60-day period for

 the government to conduct a search of the SUBJECT DIGITAL

 DEVICES, that is, until September l3, 2015.

      12.      On or about July 28, 2015, SA Kostic sent an

 electronic request to the FBI-Computer Analysis Response Team

("FBI-CART") for a forensic examination of the SUBJECT DIGITAL


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 DEVICES.    On July 31, 2015, the requested forensic examination

 was assigned to a forensic examiner internally at CART.

       13.   On August 8, 2015, the assigned forensic examiner

 began the forensic copying of the SUBJECT DIGITAL DEVICES.           On

 or about September 8, 2015, the forensic examiner advised that

 the forensic reviewing process was ongoing.         SA Kostic,

 subsequently, requested an extension of time to search the

 SUBJECT DIGITAL DEVICES.

       14.   On September 10, 2015, the Honorable Paul L. Abrams,

 United States Magistrate Judge, signed an Order authorizing an

 extension by which the government can retain and search the

 seized SUBJECT DIGITAL DEVICES for 90 days, that is, until

 December 9, 2015.

       15.   After the extension was granted, the forensic examiner

 made an exact copy of the data from the SUBJECT DIGITAL DEVICE.

 An exact copy is made to allow the forensic examiner to process

 the data contained within the SUBJECT DIGITAL DEVICE without

 jeopardizing the original evidence.       Next, the forensic examiner

 processed the extracted data, via a forensic examination

 program, by compartmentalizing and segregating different types

 of data (e.g., images, videos, documents, etc.).         The forensic

 examiner then extracted the hash values (a unique identifying

 alpha numeric sequence that is generated typically for images

 and videos) from the extracted data.

      16.    On October 14, 2015, the assigned forensic examiner

 advised SA Kostic that she had processed the data extracted from

 the SUBJECT DIGITAL DEVICES, and that the forensic copies of the


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 SUBJECT DIGITAL DEVICES were ready to be reviewed.          The forensic

 examiner then uploaded the forensically copied data from the

 SUBJECT DIGITAL DEVICES into a forensic. examination program, and

 was made ready to be reviewed.       The forensic examiner further

 advised that the forensically copied data from the SUBJECT

 DIGITAL DEVICES totaled approximately 1 terabyte (1,000

 gigabytes).

       17.   On December 22, 2016, SA Kostic requested the data

 extracted from the SUBJECT DIGITAL DEVICES be processed via a

 newly developed forensic examination program.         Due to

 technological advancements, forensic examination processes are

 being continuously updated and improved forensic examination

 programs are continuously developed and updated.          For example,

 one forensic examination program may be able to detect/read

 files that another forensic examination program may not be able

 to detect/read.    By uploading the forensically copied data into

 various forensic examination programs, it allows the

 investigator to extensively review the evidence and exhaust all

 means available to him/her to thoroughly search seized devices.

 The upload of the forensically copied data into the newly

 developed forensic examination program was completed on January

 26, 2016.    As of January 26, 2016, the SUBJECT DIGITAL DEVICES.

 have not been accessed nor have the forensic copies of the

 SUBJECT DIGITAL DEVICES been reviewed since that time.

      18.    On or about June 27, 2016, SA Kostic was reassigned to

 the White Collar Crime section, Health Care Fraud (WCC3).




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       19.   On or about September 21, 2016, I was assigned to

 complete the search of the SUBJECT DIGITAL DEVICES.

       20.   On or about September 27, 2016, SA Kostic advised me

 that she did not review the SUBJECT DIGITAL DEVICES.

       21.   This means the following remains to be completed: (1)

 a review of the forensic examinations of the SUBJECT DIGITAL

 DEVICES and (2) generating a forensic report which documents the

 review of the SUBJECT DIGITAL DEVICES.        Based on the number of

 SUBJECT DIGITAL DEVICES and the anticipated amount of data (i.e.

 1 terabyte) that I will need to examine, I anticipate that this

 will require a time period of approximately 90 additional days

 to accomplish.

             V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES


      22.    Based on my knowledge, training, and experience as

 well as information related to me by agents and others involved

 in the forensic examination of digital devices, I know that it

 is not always possible to search digital devices for digital

 data in a single day or even over several weeks for a number of

 reasons, including the following:

             a.     Searching digital devices can be a highly

 technical process that requires specific expertise and

 specialized equipment.     There are many types of digital devices

 and software in use today that it takes time to conduct a

 thorough search.    In addition, it may also be necessary to

 consult with specially trained personnel who have specific




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 expertise in the type of digital device, software application or

 operating system that is being searched.

             b.   Digital data is particularly vulnerable to

 inadvertent or intentional modification or destruction.

 Searching digital devices can require the use of precise,

 scientific procedures that are designed to maintain the

 integrity of digital data and to recover "hidden", erased,

 compressed, encrypted, or password-protected data.          As a result,

 a controlled environment, such as a law enforcement laboratory

 or similar facility, is essential to conducting a complete and

 accurate analysis of data stored on digital devices.

             c.   The volume of data stored on many digital devices

 will typically be so large that it takes substantial time to

 search such devices properly.      A single gigabyte could hold the

 contents of about ten yards of books on a shelf.         One hundred

 gigabytes could hold an entire library floor of academic

 journals. The SUBJECT DEVICES contain approximately 1 terabyte

 (1,000 gigabytes) of data. (i.e. 10 library floors of academic

 journals)

             d.   Electronic files or remnants of such files can be

 recovered months. or even years after they have been downloaded

 onto a hard drive, deleted, or viewed via the Internet.

 Electronic files saved to a hard drive can be stored for years

 with little or no cost.     Even when such files have been deleted,

 they can be recovered months or years later using readily

available forensics tools.       Normally, when a person deletes a

file on a computer, the data contained in the file does not


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 actually disappear; rather, that data remains on the hard drive

 until it is overwritten by new data.       Therefore, deleted files,

 or remnants of deleted files, may reside in free space or slack

 space, i.e., space on the hard drive that is not allocated to an

 active file or that is unused -after a file had been allocated to

 a set block of storage space for long periods of time before

 they are overwritten.     In addition, a computer's operating

 system may also keep a record of deleted data in a swap or

 recovery file.    Similarly, files that have been viewed via the

 Internet are automatically downloaded into a temporary Internet

 directory or cache.     The browser typically maintains a fixed

 amount of hard drive space devoted to these files, and the files

 are only overwritten as they are replaced with more recently

 viewed Internet pages.     Thus, the ability to retrieve residue of

 an electronic file from a hard drive depends less on when the

 file was downloaded or viewed than on a particular user's

 operating system, storage capacity, and computer habits.

 Recovery of residue of electronic files from a hard drive

 requires specialized tools and a controlled laboratory

 environment.    Recovery also can require substantial time.

            e.     Although some of the records called for by this

 warrant might be found in the form of user-generated documents

(such a word processor, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records,. documents,


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 programs, applications and materials contained on the digital

 devices are, as described further in the attachments, called for

 by this warrant.     Those records will not always be found in

 digital data that is neatly segregable from the hard drive image

 as a whole.     Digital data on the hard drive not currently

 associated with any file can provide evidence of a file that was

 once on the hard drive but has since been deleted or edited, or

 of a deleted portion of a file (such as a paragraph that has

 been deleted from a word processing file) .,      Virtual memory

 paging systems can leave digital data on the hard drive that

 show what tasks and processes on the computer were recently

 used.   Web data on the hard drive that can reveal information

 such as online nicknames and passwords.        Operating systems can

 record additional data, such as the attachment of peripherals,

 the attachment of USB flash storage devices, and the times the

 computer was in use.     Computer file systems can record data

 about the dates files were created and the sequence in which

 they were created.     This data can be evidence of a crime,

 indicate the identity of the user of the digital device, or

 point toward the existence of evidence in other locations.

 Recovery of this data requires specialized tools and a

 controlled laboratory environment, and also can required

 substantial time.

            f.    Further, evidence of how a digital device has

 been used, what it has been for, and who has used it, may be the

absence of particular data on a digital device.          For example, to

rebut a claim that the owner of a digital device was not


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 responsible for a particular use because the device was being

 controlled remotely by malicious software, it may be necessary

 to show that malicious software that allows someone else to

 control the digital device remotely is not present on the

 digital device.    Evidence of the absence of particular data on a

 digital device is not segregable from the digital device.

 Analysis of the digital device as a whole to demonstrate the

 absence of particular data requires specialized tools and a

 controlled laboratory environment, and can require substantial

 time.

            g.    Digital device users can attempt to conceal data

 within digital devices through a number of methods, including

 the use of innocuous or misleading filenames and extensions.

 For example, files with the extension ".jpg" often are image

 files; however, a user can easily change the extension to ".txt"

 to conceal the image and make it appear that the file contains

 text.   Digital device users can also attempt to conceal data by

 using encryption, which means that a password or device, such as

 a "dongle" or "keycard," is necessary to decrypt the data into

 readable form.    In addition, digital device users can conceal

 data within another seemingly unrelated and innocuous file in a

 process called "steganography."       For example, by using

 steganography a digital device user can conceal text in an image

 file that cannot be viewed when the image file is opened.

 Digital devices may also contain "booby traps" that destroy or

 alter data if certain procedures are not scrupulously followed.

 A substantial amount of time is necessary to extract and sort


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 through data that is concealed, encrypted, or subject to booby

 traps, to determine whether it is evidence, contraband or

 instrumentalities of a crime.

             h.   Other than what has been described herein, to my

 knowledge, -the United States has not attempted to obtain this

 data by other means.

                              VI. CONCLUSION


       23.   Based on the foregoing, I respectfully submit that

 there is probable cause to believe that the following SUBJECT

 DIGITAL DEVICES contain evidence of violations of Title 18,

 United States Code, Section 2252A(a)(2) (receipt and

 distribution of child pornography); and 2252(a)(5)(B)

 (possession of child pornography).

      24.    I declare under penalty of perjury that the foregoing

 is true and correct to the best of my knowledge and belief.

 Executed on December ZZ, 2016, at Los Angeles, California.


                                           (/ V
                                         Lydi~ Sakae,
                                         Task Force Officer
                                         Federal Bureau of
                                         Investigation

 Subscribegi to and sworn before me
 this
    '   ~.~day of December, 2016.


    `~ /"
HONORABLE      F re~erick F.(~umm
UNITED STATES MAGISTRATE JUDGE




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       AO 106(Rev.04/10) Application fora Set~reh Warrant (USAO CDCA Rev. U 1/2013)
v                                                                                                                            ~_ "~-- --


                                           UNITED STATES DISTRICT COURT
                                                                           for the                                       f
                                                              Central District of California                         ;          ~   ~. ~ Q 215
                                                                                                                     i
                   In the Matter ofthe Search of                             ~                                      ~_.~ ._.                  ~
             (1~rieJly desa•ibe the property to be searched                  ~                                                            --' ,. ,..
              or iJenr~(he person by name cmd address)                       ~            Case No.           ~ ~~ ~                   O
      18443 Chatsworth Street, Northridge, California 91326                  }                                                 29



                                                APPLICATION FOR A SEARCH WARRANT

             I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
     penalty of perjury that I have reason to believe that on the following person or property (r'denrfy the person o~ describe the
     property to be searched and give ils localion):
         See Attachment A

     located in the             Gentral               District of             California               ,there is now concealed (,deerfy the
     person or describe the property to be seized):

         See Attachment B

              The basis for the search under Fed. R. Crim. P. 4](c)is (check one or more):
                   L~evidence of a crime;
                      contraband, fruits ofcrime, or other items illegally possessed;
               [ property designed for use, intended for use,or used in committing a crime;
               O a person to be an•ested or a person- rvho is unlawfully resb•a.ined.

              The search is related to a violation of•
              Code Section                                                               Offense Description
    18 U.S.C. § 2252A(a)(5}(B}(access with intent to view and                             See attached Affidavit
    possession of child pornography)

             The application is based on these facts:
            See attached Affidavit

              L~ Continued on the attached sheet.
              O Delayed notice of        days(give exact ending date if more than 30 days:                                          )is requested
                 under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                          fS~
                                                                                                     Applicant's signah~re

                                                                                               FBI Special Agenf Tiana KosGc
                                                                                                     Printed name and title

    Sworn to before me acid signed in my presence.
                   i                                                                               lACQUEIINE CHOOL!(AH
    Date: ____~/v ~S
                                                                                                       Judge's srgnal:rre

    City and state: Los Angeles, California                                           Hon. Jacqueline Chooljian, U.S. Magistrate Judge
                                                                                                     Printed name and lrtle

AUSA: Wilson Park x5796
      'vC
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                                        ATTACHMENT A

                                PRENIISES TO BE SEARCHED

         The premises to be searched (the "SUBJECT PREMISES")is the premises located at

  18443 Chatsworth Street, Northridge, California 91326. The SUBJECT PREMLSES is a one-

  story single family home located on the north side of Chatsworth Street. The SUBJECT

 PREMISES has an exterior ofpink stucco with white trim and a light grey roof. Tile number

 "18443" is painted in black on the curb in front of the SUBJECT PREMISES. Hedges and a

 black metal fence surround the perimeter of the SUBJECT PREMISES. The SUBJECT

 PREMISES includes any parking spaces, garages, storage space, and appurtenances that are

 associated with the property located at 18443 Chatsworth Street, Northridge, California 91326.




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s
    s




                                                 ATTACHMENT B

          I.     ITEMS TO BE SEIZED

                 1.       The items to be seized are evidence,fnuts, and inshumentalities of violations of

          18 U.S.C. § 2252A(a)(5)(B)(access with intent to view and possession of child pornography),

         specifically:

                          a.     Child pornography, as defined in 18 U.S.C. § 2256(8).

                          b.    Any records, documents, programs, applications, or materials, including

         electronic mail and electronic messages,that refer to child pornography, as defined in 18 U.S.C.

         § 2256(8), including but not limited to documents that refer to the possession, receipt,

         distribution, transmission, reproduction, viewing, sharing, purchase, downloading, production,

         shipment,order, requesting, trade, or transaction of any kind,involving child pornogaphy.

                         c.     Any records, documents, programs, applications, or materials, including

        electronic snail and electronic messages, tending to identify persons involved in the possession,

        receipt, distribution, transmission, reproduction, viewing,sharing, purchase, downloading,

        production, slupinent, order, requesting, trade, or transaction of any kind, involving child

        pornography, as defined in 18 J.S.C. ~ 2256.

                         d.     Any records, documents, p~•ograms, applications, or materials, including

        electronic mail and electronic messages, that identify any minor visually depicted while engaging

        in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

                         e.    Any and all records, documents, programs, applications, or materials or

        items which are sexually arousing to individuals who are interested in minors, but which are not

        in and ofthemselves obscene or which do not necessarily depict minors involved in sexually


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  explicit conduct. Such material is commonly known as "child erotica" and includes written

  materials dealing with child development, sex education, child pornography, sexual abuse of

  children, incest, child prostitution, missing children, investigative techniques of child

  exploitation, sexual disorders, pedophilia, nudist publications, diaries, and fantasy writings.

                 f.      Any records, documents,programs, applications, or materials, including

 electronic mail and electronic messages, that pertain to VJebsite A and the Network.

                 g.     Any records, documents, prograius, applications, or materials, including

 electronic mail and electronic messages, that pei~ain to accounts with any Intei~et Service

 Provider.

                 h.     A.ny records, documents, programs, applications, or materials, including

 electronic mail and electronic messages, regarding ownership and/or possession of 18443

 Chatsworth Street, Northridge, California 91326(the "SUB7ECT PREMISES"), as defined in

 Attachment A.

                i.      Any records; docwnents, programs, applications, or materials, including

 electronic mail and electronic messages, regarding ownership and/or possession and/or use of any

 digital devices)found inside the SUBJECT PREMISES.

               j.       Any digital device used to facilitate the above-listed violations and

forensic copies thereof.

                k.      With respect to any digital device used to facilitate the above-listed

 violations or containing evidence falling within the scope of the foregoing categories of items to

 be seized:




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                        i.         evidence of who used, awned, or controlled the device at the time

  the things described in this. warrant were created, edited, or deleted, such as logs, registry envies,

  configuration files, saved usemames and passwords, documents, bxowsing history, user profiles,

  e-mail, e-mail contacts, chat and instant messaging logs, photographs, and correspondence;

                       ii.       evidence ofthe presence or absence ofsoftware that would allow

 others to control the device, such as viruses;Trojan horses, and other forms of malicious

 software, as well as evidence ofthe presence or absence of security software designed to detect

 malicious software;

                     iii.       evidence of the attachment of other devices;

                     iv.        evidence of coiuiter-forensic programs (and associated data) that

 are designed to eliminate data from the device;

                       v.       evidence ofthe times the device was used;

                     vi,        passwords, encryption keys, and other access devices that maybe

 necessary to access the device;

                    vii.        applications, utility programs, compilers, interpreters, or other

 software, as well as documentation and manuals,that may be necessary to access the device or to

 conduct a forensic examination of it;

                   viii.        records of or information about Internet Protocol addresses used by

 the device;

                     ix.       records of or information about the device's Internet activity,

 including firewall logs, caches, browser history and cookies,"boolQnarked" or "favorite" web




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  pages, search terms that the user entered into any Internet search engine, a.nd records of user-

  typed web addresses.

         2.        As used herein, the terms "records,""documents,""programs,""applications,"

 and "materials" include records, documents, programs, applications, and materials created,

 modified, or stored in any form, including in digital form on any digital device and any forensic

 copies thereof.

        3.      As used herein, the term "digital device" includes any electronic system or device

 capable ofstoring or processing data in digital form, including central processing units; desktop,

 laptop, notebook, and tablet computers; personal digital assistants; wireless communication

 devices, such as telephone padng devices, beepers, mobile telephones, and smart phones; digital

cameras; peripheral input/output devices, such as keyboards, printers, scanners, plotters,

 monitors, and drives intended for removable media; related communications devices, such as

modems, routers, cables, and connections; storage media, such as hard disk drives, floppy disks,

memory cards, optical disks, and magnetic tapes used to store digital data(excluding analog

tapes such as VHS); and security devices.

II.     SEARCH PROCEDUR~C FOR DIGITAL DEVICES

       4.      In searching digital devices or forensic copies thereof, law enforcement personnel

executing this search warrant will employ the following procedure:

               a.       Law enforcement personnel or other individuals assisting law enforcement

personnel(the "search team") will, in thee- discretion, either search the digital devices) on-site

or seize and transport the devices) to an appropriate law enforcement Laboratory or similar

facility to be searched at that location. The search team shall complete the search as soon as is

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  practicable but not to exceed 60 days from the date of execution ofthe wan-ant. If additional

  time is needed, the government may seek an eactension of this time period from the Court on or

  before the date by which the search was to have been completed.

                 b.         The search teanl will conduct the search only by using search protocols

  specifically chosen to identify only the specific items to be seized under this warrant.

                        i.         The search team may subject a1I ofthe data contained in each

 digital device capable of containing any of the items to be seized to the search protocols to

 detern~ine whether the,device a~1d any data thereon falls within the list ofitems to be seized. The

 search team may also search for and attempt to recover deleted,"hidden," or encrypted data to

 determine, pursuant to the search protocols, whether the data falls within the list of items to be

 seized.

                      ii.         The search team inay vse tools to exclude normal operating system

 files and standard third-party software that do not need to be searched.

                      ui.         The team searching the digital data also may use sophisticated

 tools, such as forensic hashing tools, to identify child pornography (including, but not limited to,

"Encase" and "Forensic Tool Kit," or "F'TK"). Forensic hashing is the process of using a

 mathematical function, often called an al.goriflzm, to generate a numerical identifier for data (such

 as a particular file). Ifthe data is changed, even very slightly (such as the addition or deletion of

 a comma or a period), the identifer should change. A hash value can be filiought of as a "digital

fingerprint" for data. The team searching digital devices in this case will also use a "hash set,"

 which contains the hash values ofimage and video files associated with known identified victims

 of child pornography to determine whether these files are stored within digital devices. Because

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  this "hash set" is constantly being updated as investigations result in the rescue of children

  depicted in child pornography images/videos, it will not contain the hash values of all currently

  identified image and video files. The team searching the digital devices will only use search

 protocols specifically selected to identify items to be seized under this warrant.

                 c.      When searching a digital device pursuant to the specific search protocols

 selected, the search team shall make and retain notes regarding how the search was conducted

 pursuant to the selected protocols.

                d.      If the search team, while searching a digital device, encounters

 immediately apparent contraband or other evidence ofa crime outside the scope of the items to

 be seized, the team shall immediately discontinue its search ofthat device pending further order

 ofthe Court and shall make and retain notes detailing how the contraband or other evidence of a

 crime was encountered, including how it was immediately apparent contraband or evidence of a

 crime.

                e.     If the search determines that a digital device does not contain any data

falling within the list of items to be seized, the govenunent will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

               f.      Ifthe search determines that a digital device does contain data falling

within the list ofitems to be seized, the government may make and retain copies of such data,

and may access such data at any time.

               g.      Tf the search determines that a digital device is(1) itself an item to be

seized and/or(2)contains data falling within the list of items to be seized, the government may




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  retain forensic copies of the digital device but may not access them (after the time for searching

  the device has expired) absent further court order.

                 h.     The government may retain a digital device itself anti] further order of the

 Court or one year after the conclusion ofthe criminal investigation or case (whichever is latest),

 only ifthe device is determined to be an instrumentality ofan offense under investigation or the

 governnnent, within 14 days following the time period authorized by the Court for completing the

 search, obtains an order from the Court authorizing retention ofthe device (or while an

 application for such an order is pending). Otherwise,the government must return the device.

                i.      Notwithstanding the above, after the completion of the search of the digital

 devices,the government shall not access digital data falling outside the scope of the items to be

 seized absent further order ofthe Court.

        5.      In order to search for data capable of being read or interpreted by a digital device,

law enforcement personnel are authorized to seize the following items:

                a.     Any digital device capable of being used to commit, further, or store

evidence ofthe offenses)listed above;

                b~     Any equipment used to faeilifiate the tr-ansmission, creation, display,

encoding, or storage of digital data;

                c.     Any magnetic, electronic, or optical storage device capable of storing

digital data;

                d.     Any documentation, operating logs, or reference manuals regarding the

operation of the digital device or software used in the digital device;




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                 e.      Any applications, utility programs, compilers, interpreters, or other

 software used to facilitate direct or indirect communication with the digital device;

                f.      Any physical keys, encryption devices, dongles, or similar physical items

 that are necessary to gain access to the digital device or data stored on the digital device; and

                g.      Any passwords, password files, test keys, encryption codes, or other

 information necessary to access the digital device or data stored on the digital device.

        6.      The special procedures relating to digital devices found in this warrant govern

 only the search of digital devices pursuant to the authority conferred by this warrant and do not

 apply to any search of digital devices pursuant to any other court order.




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                                            AFFIDAVIT

         I,Tiana Kostic, being duly sworn, declare and -state as follows:

                                         I. INTRODUCTION

         1.     I have been employed as a Specia] Agent("SA")ofthe Federal Bw•eau of

 Investigation ("FBP') for approximately 10 months. During my employment as a SA, I have

 received 21 weeks offormal education at the FBI Academy, which included instruction in

 writing affidavits and providing evidentiary testimony. T have also received training in tE~e

 investigation and prosecution of child pornography and child exploitation offenses, and I have

 had the opportunity to observe and review numerous examples of child pornography(as defined

 in 18 U.S.C. § 2256)in many forms of media, including computer media. I currently investigate

 crimes involving the sexual exploitation of children and child pornography in the Central District

 of California and am a member ofthe Southern California Regional Sexual Assault Felony

Enforcement("SAFE") Team. The SAFE Team is responsible for enforcing federal criminal

statutes involvinb the sexual exploitation of children under 18 U.S.C. § 2251, et seq. Before my

employment with the FBI,I worked as a certified forensic psychophysiologist, where I

adininisteied polygraph examinations Co a variety of convicted sexual offenders.

        2.     Through my training and experience, I have become familiar with the methods

used by people who corrunit offenses involving the sexual exploitation of children. My training

and experience has given me an understanding of how people who commit offenses relating to

the sexual exploitation ofchildren use the Internet to facilitate and commit those offenses.

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                                     II. PURPOSE OF AFFIDAVIT

         3.      This affidavit is made in support of an application for aware-ant to search the

 premises located at]8443 Chatsworth Street, Northridge, California 91326 (the "SUBJECT

 PREMISES"), more fully described below and in Attachment A, which is attached hereto and

 incorporated herein by reference, and to seize evidence, fniits, and instnunentalities, as specified

 in Attachment B, which is also attached hereto and incorporated by reference, of violations of 18

 U.S.C. § 2252A(a)(5)(B)(access with intent to view and possession of child pornography).

        4.      The facts set forth in this affidavit are based on my personal observations, my

training and experience, infoi7nation obtained from various law enforcement personnel and

wihiesses, including FBI SAs, analysts, and computer forensic professionals, written reports

about this and other investigations that I have'received, directly or indirectly, from other law

enforcement agents,information gathered from the service of administrative subpoenas, and

information obtained from physical and electronic surveillance conducted by la~u enforcement

agents. This.affidavit is intended to show merely that there is sufficient probable cause for the

requested wai~ant and does not purport to set forth all of my knowledge of or investigation into

this matter. Unless specifically indicated otherwise, all conversations and statements described

in this affidavit are related,in substance and in part only.

              III. PREMISES TO BE SEARCHED AND ITEMS TO BE SEIZED

       5.      The premises to be searched (the "SUBJECT PREMISES")is the premises

located at 18443 Chatsworth Street, Northridge, California 91326. The SUBJECT PREMISES is

a one-stogy single family home located on tfie north side of Chatsworth Street. The SUBJECT

PREMISES has an exterior of pink stucco with white trim and a light grey roof. The number

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 "18443" is painted in black on the curb in front ofthe SUBJECT PREMISES. Hedges and a

 black metal fence surround the perimeter of the SUBJECT PREMISES. The SUBJECT

 PREMISES includes any parking spaces, garages, storage space, and appurtenances that are

 associated with the property located at 18443 Chatsworth Street, Northridge, Califo.mia 91326.

        6.      The items to be seized are described in Attachment B, which is attached hereto

 and incorporated herein by reference.

                                         IV. DEFINITIONS

        7.      The following terms, as used in this affidavit, have the following meanings:

                a.     "Minor,""sexually explicit conduct,""visual depiction,""producing," and

 "child poino~aphy" are defined as set forth in 18 U.S.C. § 2256.

                b.     "Child Erotica" means materials or items that are sexually arousing to

 persons who have a sexual interest in minors, but that are not, in and of themselves, legally

 obscene, or do not necessarily depict minors in sexually explicit conduct.

                c.    "Computer" is defined pursuant to 18 U.S.C. § 1030(e)(1) as "an

 electronic, magnetic, optical, electrochemical, or other high speed data processing device

 performing logical or storage functions; and includes any data storage facility or

 communications facility directly related to or operating in conjunction with such device."

                d.    "Computer Server" or "Server" is a computer that is attached to a

 dedicated network and serves many users. A web server,for example, is a computer which

 hosts the data associated with a website. That web server receives requests from a user and

 delivers information from the server to the user's computer via the Internet. A domain name

 system("DNS")server, in essence, is a computer on the Internet that routes communications

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  when a user types a domain name,such as www.cnn.com,into his or her web browser.

  Essentially, the domain name must be translated into an Internet Protocol address so the

  computer hosting the website maybe located, and the DNS server provides this function.

                 e.     "Computer softwaze" or "software" is digital inforrnation which can be

  interpreted by a computer or any of its related components to direct the way they work.

  Computer software is stored in electronic, magnetic, or other digital foam. It commonly

  includes programs to run operating systems,'applications, and utilities.

                f.     "Host Name" is a name assigned to a device connected to a computer

 network that is used to identify the device in various forms of electronic communication, such

 as communications over the Internet.

                g.     "File Transfer Protocol"("FTP"} is a standard networl: protocol used to

 transfer computer files from one host to another over a computer network, such as the Internet.

 FTP is built on client-server architecture and uses separate control and data connections between

 the client and the server.

                h.     Media Access Control("MAC")address: The equipment that connects a

 computer to a network is commonly referred to as a network adapter. Most network adapters

 have a MAC address assigned by the manufacturer ofthe adapter that is designed to be a luzique

 identifying niunber. A unique MAC address allows for proper routing of communications on a

 nefwork. Because the MAC address does not change and is intended to be unique, a MAC

 address can allow law enforcement to identify whether communications sent or received at

 different times are associated with the same adapter.



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                        "Internet" is defined ~s the worldwide network of computers -- a

   noncommercial, self-governuig network devoted mostly to communication and research with

   roughly S00 million users worldwide. The Internet is not an online service and has no real

  central hub. It is acollection oftens of thousands of computer networks, online services, and

  single user components. In order to access the Internet, an individual computer user must use an

  access provider, such as a university, employer, or commercial Internet Service Provider, which

  operates a host computer with direct access to the Internet.

                       "Internet Service Providers"("ISPs") are commercial organizations that

  are in business to provide individuals and businesses access to the Internet. ISPs provide a

  range offunctions for their customers, including access to the Internet, web hosting, e-mail,

  remote storage, and co-location of computers and other communications equipment. ISPs can

  offer a range of options in providing access to the Internet, including telephone based dial-up,

  broadband based access via digital subscriber line("DSL") or cable television, dedicated

 circuits, or satellite based subscription. ISPs typically charge a fee based upon the type of

 connection and volume of data, called bandwidth, which the connection supports. Many ISPs

  assign each subscriber an account name(a user name or screen name), an e-mail address, an e-

  mail mailbox, and a personal password selected by the subscriber. By using a computer

 equipped with a modem,the subscriber can establish communication with the ISP over a

 telephone line, through a cable system or via satellite, and can access the Internet by using his or

 her account name and personal password.

                k.     "Internet Protocol Address" or "IP address" refers to a unique number

  used by a computer to access the Internet. IP addresses can be "dynamic," meaning that the ISP
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   assigns a different unique number to a computer every time it accesses the Internet. IP

   addresses can also be "static," if an TSP assigns a user's computer a particular IP address which

  is used each time the computer accesses the 1r~temet. IP addresses are also used by computer

  servers, including web servers, to communicate with other computers.

                 1.     A "website" consists oftextual pages ofinformation and associated

  graphic images. The textual information is stored in a specific format known as Hyper-Text

  Mark-up Language("HTML")and is transmitted from web servers to various web clients via

  Hyper-Text Transport Protocol ("HTTP").

                 m.    "Hyperlink" refers to an item on a webpage which, when selected,

  transfers the user directly to another location in a hypertext document or to some other webpage.

                 n.    "Bulletin Board" means an Internet-based website that is either secured

(accessible only with a password) or unsecured, and provides members with the ability to view

 postings by other members and make postings themselves. Postings can contain text messages,

 still images, video images, or web addresses that direct other members to speck content.

 Bulletin boards are also refeiTed to as "Internet forums" or "message boards." A "post" or

 "posting" is a single message posted by a user. Users of a bulletin board may post messages in

 reply to a post. A message "thread," often called a "topic," refers to a linked series of posts and

 reply messages. Message threads or topics often contain a title, which is generally selected by

 the user who posted the first message of the thread. Bulletin boards often also provide the

 ability for members to communicate on a one-to-one basis through "private messages." Private

 messages are similar to e-mail messages that a~-e sent between two members of a bulletin board.



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   'They are'accessible only by the users who'sent and received such messages, or by the bulletin

   board's administrator,

                  o.     "Chat" means any kind ofcommunication over the Internet that consists of

  the real-time transmission of messages between two users. Chat messages enable participants to

  respond quickly to one another and in a format that is similar to an oral conversation. This

  feature distinguishes chatting from other text-based online communications such as Internet

  forums and e-mail.

              V. BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

         8.      Based on my training and experience, and the training and experience of other law

 enforcement officers experienced in investigating crimes involving the sexual exploitation of

 children with whom I have had discussions,I know the following:

                 a.     Computers and digital technology have dramatically changed the way in

  which individuals interested in child pornography interact with each other. Computers basically

  serve four functions in connection with child pornography: production, communication,

  distribution, and storage.

                 b.     Individuals ~~vith an interest in child pornography can now transfer printed

  photographs into acomputer-readable format with a device known as a scanner. Furthermore,

  with the advent of digital cameras, when a photograph is taken, ~t is saved as a digital file that

  can be directly transferred to a computer by supply connecting the camera to the computer. In

  the last ten years, the resolution of pictures taken by digital cameras has increased dramatically,

  meaning the photos taken with digital cameras have become sharper and crisper. Photos taken

  on a digital camera can be stored on a removable memory card in the camera. These memory
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  cards often store up to 32 gigabytes of data; which provides enough space to store thousands of

  high-resolution photographs. Video camcorders, which once recorded video onto tapes or mini-

  CDs, now can save video footage in a digital format directly to a hard drive on the camera. The

  video files can then be easily transferred from the camcorder to a computer.

                 c.     A device lrnown as a modem allows any computer to conriect to another

  computer through the use oftelephone, cable, or wireless connection. Electronic contact can be

  made to literally millions of computers around the world. The ability to produce child

 pornography easily, reproduce it inexpensively, and market it anonymously (through electronic

 communications) has drastically changed the methods of distributing and receiving child

 pornogx'aphy. Child pornography caul be transferred via electronic mail or through FTPs to

 anyone with access to a computer and modem. Because of the proliferation of commercial

 services that provide electronic mail service, chat services (i.e., Instant Messaging), and easy

 access to the Internet, the computer is a preferred method for distributing and receiving child

 pornography.

                d.     The computer's ability to store images in digital form makes the computer

 itself an ideal repository for child pornobaphy. The size ofthe electronic storage media

(commonly referred to as the hard drive) used in home computers has grown tremendously

 within the last several years. These drives can store thousands ofimages at very high resolution.

 In addition, there are numerous options available for the storage of computer or digital files.

 One-Terabyte external and internal hard drives are not uncommon. Other media storage devices

 include CDs,DVDs,and "thumb,""jump," or "flash" drives, which are very small devices

 which are plugged into a port on the computer. It is extremely easy for an individual to take a

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  photo with a digital camera, upload that photo to a computer, and then copy it(or any other files

  on the computer) to any one ofthose media storage devices(CDs and DVDs are unique in that

  special software must be used to save or "bum" files onto them). Media storage devices can

  easily be concealed and carried on an individual's person.

                 e.     The Internet affords individuals many different venues for obtaining,

  viewing, and trading child pornography in a relatively secure and anonymous fashion.

                 f.    Individuals can also use online resources to retrieve and store child

 pornography,including services offered by Internet Portals such as Yahoo! and Hotmail, among

 others. The online services allow a user to set up an account with a remote computing service

 that provides e-mail services, as well as electronic storage ofcomputer files ul a variety of

 formats. A user can set up an online storage account from any computer with access to the

 Internet. Even in cases where online storage is used, however, evidence of child pomooaphy

 can be found on the user's computer or external media in most cases.

                g.     As is the case with most digital technology, communications via a

 computer can be saved or stored on the computer used for these purposes. Storing this

 information can be intentional, i.e.; by saving an e-mail as a file on the computer or saving the

 location of one's favorite websites ul, for example,"bookmarked" files. Digital information can

 also be retained unintentionally, sme ., traces ofthe path of an electronic.communication may be

 automatically stored in many places (temporary files or ISP client software, among others). I❑

 addition to electronic communications, acomputer user's Internet activities generally leave

 traces or "footprints" in the web cache and history files ofthe browser used. Such information

 is oftenmaintained indefinitely until overwritten by other data.

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                                        VI. PROBABLE CAUSE

  A.     SUMMARY OF PROBABLE CAUSE

        9,      As set forth in greater detail below, an individual using IP address 104,34.111.20

              Il ADDRESS")has been linked to an online community ofindividuals who
 (the "SUSPECT'

 regularly sent and received child pornography via a website ("Website A")that operated on an

 anonymous online network (the "Network").1 Specifically, there is probable cause to believe that

 an individual using the SUSPECT IP ADDRESS lrnowingly accessed child pornography with the

 intent to view it nn Website A in February 2015. Further investigation has 1-evealed that at the

 time the child pornography was accessed, the SUSPECT IP ADDRESS was assigned to the

 SUBJECT PREMISES.

 B.     BACKGROUND REGARDING THE NETWORK

        10.    On or about May 22, 2015, I reviewed a report provided by the Violent Cringes

 Against Children("VCAC")Section (the "VCAC Report") of the Major Case Coordination Unit

ofthe FBI. VCAC is a group based in Maryland that collects leads from multiple sources and

conducts initial uivestigations into crimes against children, before the investigations are refereed

to FBI field offices across the country. Based on my training and experience, my review of the




          The actual names of Website A and the Network are known to law enforcement.
However, the investigation into the users of Website A and the Network remains ongoing, and
the disclosure of the naives of Website A and the Network would potentially alert their members
to the fact that law enforcement officers are investigating Website A and the Network. Public
disclosure of that fact is likely to provoke members to notify other members ofthe investigation,
flee, and/or destroy evidence. Accordingly, to preserve the confidentiality and integrity of the
ongoing investigation, the actual names and other identifying details of Website A and the
Network are not disclosed in this       davit.

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  VCAC Report, and information related to me by other FBI SAs involved in the investigation; I

  know the following:

                 a.      Website A operated on the Network, which is a network that is available

 to Internet users who are aware ofits existence. The Network is designed specifically to

 facilitate anonymous communication over the Internet. In order to access the Network, a user

 must install computer software that is publicly available, either by downloading software to the

 user's existing web browser, downloading free software available from the Network's

 administrators, or do~n~loading a publicly-available third-party application.2 By using the

 Network, a user can prevent others attempting to monitor the user's Internet connection from

 learning what websites a user visits. The user can also prevent the websites the user visits from

 learning the user's physical location. Because ofthe way the Network routes communication

 through other computers, traditional IP identification techniques are not viable.

                b.      Websites that are accessible only to users within the Network can be set up

on the Network. Website A is no longer active, but it was one such website when it was active.

A.s such, VJebsite A could not generally be accessed through the traditional Internet.3 Only a user

who had installed the appropriate so$ware on the user's computer could have accessed Website

A. Even after connecting to the Network, a user had to know the exact web address of Website



       z Users may also access khe Network through "gateways" on the open Internet. However,
these gateways do not provide users with the full anonyznizing benefits of the Network.

       3 Due to a misconfiguration, prior to February 20, 2015, Website A was occasionally
accessible through the traditional Internet. However,in order to have accessed Website A in that
manner, a user would have needed to know the exact IP address ofthe computer server that
hosted Website A, which was not publicly available information. As of approximately February
20,ZOl 5, Website A was no longer accessible through the traditional Internet.
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  Ain order to access it. Further, websites on the Network are not indexed in the same way as

  websites on the traditional Internet. Unlike ;on the traditional Internet, a user could not have

  simply performed a Google search for the name of Website A, obtained the web address for

  Website A, and clicked on a link to navigate to Website A. Rather, a user would have had to

 obtain the web address for Website A directly from another source, such as other users of

 Website A,or from online postings describing both the sort of content available an Website A

 and its location. Accessing Website A therefore required numerous affirmative steps by a user,

 making it extremely unlikely that any user could have simply stumbled upon. Website A without

 first understanding its content and knowing that its primary pwpose was to advertise and

 distribute child pornography.

                c.      The Network's software protects users' privacy online by bouncing their

 communications around a distributed network of relay computers run by volunteers all around

 the world, thereby masking fhe users' actual IP addresses, which could otherwise be used to

 identify the users.

                d.     The Network also makes it possible for users to hide their locations while

offering various kinds of services, such as web publishing, forum/website hosting, and the

provision ofinstant messaging. Within the Network itself, entire websites can be set up which

operate in the same manner as regular public websites, with one critical exception -- the TP

address for the web server is hidden and is replaced with aNetwork-based web address. A user

can only reach such sites ifthe user is using the Network client and operating in the Network.

Because neither a user nor law enforcement can identify the actual IP address of the web server,

it is not possible to determuie through public lookups where the computer that hosts the website

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  is located. Accordingly, it is not possible to obtain data detailing the activities of the users from

  the website server through public lookups.

  C.     BACKGROUND REGARDING WEBSITE A

         1 1.    Based on my training and experience, my review ofthe VCAC Report, and

 information related to me by other FBI SAs involved in the investigation, I know the following:

                 a.      Website A was a child pornography bulletin board and website dedicated

 to the advertisement and distribution of cluld pornography and the discussion of matters pertinent

 to the sexual abuse of children, including the need to protect from ]aw enforcement individuals

 who seek to sexually exploit children online. On or about February 20, 2015, the computer.

 server hosting Website A was seized from aweb-hosting facility in North Carolina. The website,

 however, continued to operate in Virginia from February 20,2015, until March 4, 2015, at which

tinge Website A ceased to operate. Between February 20, 2015, and March 4, 2015,law

enforcement agents acting pursuant to an order of the United States District Court for the Eastern

District of Virginia monitored electronic communications of users of Website A. Before, during,

and after its seizure by law enforcement, law enforcement agents viewed, examined, and

documented the contents of Website A, which are described below.

                b.      According to statistics posted on the site, Website A contained a total of

 1 l 7,773 posts, 10,622 total topics, and 214,898 total members as of March 4, 2015. The website

appeared to have been operating since approximately August 20l 4,- which is when the first post

was made on the message board. On the main page ofthe site, located to either side of the site

name, were two images depicting what appeared to be partially clothed prepubescent girls with

their legs spread, accompanied by text stating: "No cross-board reposts,.7z preferred, encrypt
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  filenames, include preview, Peace out." Based on my training and experience, T know that the

  phrase `~10 cross-board reposts" refers to a prohibition against material that is posted on other

  websites from being "re-posted" to Website A. I also know based on any training and experience

 that the term ".7z" refers to a preferred method of compressing large files, such as videos, or sets

 offiles for distribution. To the right of the website's name, there are two data-entry fields with a

 corresponding "Login" button. Located below the aforementioned items was the message:

 "Warning! Only registered members are allowed to access the section. Please login below or

 `register an account'[(a hyperlink to the registration page)] with [Website A]." Below this

 message was the "Login" section, consisting offour data-entry fields with the corresponding text,

"Username, Password, Minutes to stay logged in, and Always stay logged in."

                c.      Upon accessing the "register an account" hyperlink, a user would see a

 message that informed him or her that the forum required new users to enter an e-mail address

that appeared valid. However, the message instructed members not to enter a real e-mail address.

 The message further stated that once a user registered (by selecting a user name and password},

the user would be able.to fill out a detailed profile. The message went on to warn the user:

"[~]or your security you should noY post information here that can be used to identify you." The

message further detailed rules for the forum and provided other recommendations on how to hide

the user's identity for the user's own security.

               d.      After accepting the above terms, a user was required to enter a usemame,

password, and e-mail account in order to register to the message board, although a valid e-mail

account was not required as described above.



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                  e.      After successfully registering and logging into Website A,the user could

  access any number ofsections, fonuns, and sub-fonuns, Some ofthe sections,forums, and sub-

 forums available to users included: (a) How to;(b) General Discussion;(c)[Website AJ

 information and rules; and (d) Security &Technology discussion. Additional sections, forums,

 and sub-fonuns included: (a) Jailbait —Boy;, (b) Jailbait —Girl;(c)Preteen —Boy;(d)Preteen —

 Girl;(e)Pre-teen Videos —Girl HC;(fl Pre-teen Videos —Boys HC;(g) Toddlers; and (h) Kinky

 Fetish —Scat. Based on my training and experience,I know that `jailbait" refers to underage but

 post-pubescent minors;"HC" means hardcore (i.e., depictions of sexually explicit conduct that

 involve sexual penetration); and "scat" refers to the use offeces in various sexual acts. There

 was also an additional section and forum where members could exchange usemames on a

 Network-based instant messaging service that T know, based upon my training and experience, to

 be commonly used by subjects engaged in the online sexual exploitalaon of children.

                f.      I have reviewed the various topics within the above forwns, and I saw that

each topic contained a title, the author, the number of replies, the number of views, and the last

post. The "last post" section ofa particular topic vlcluded the date and time of the most recent

posting to that thread as well as the author. Upon accessi~ig a topic, the original- post appeared at

the top ofthe page, with any corresponding replies to the original post included in the post thread

below it. Typical posts appeared to contain text, images, thumbnail-sized previews of images,

compressed flies (such as Roshal Archive files, commonly referred to as ".rar" files, which are

used to store and distribute multiple files within a single file), links to external sites, or replies to

previous posts.



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                 g.          I have reviewed the various topics within the "[Website AJ information

  and piles,""How to,""General Dzscussion," and "Security &Technology discussion" forums,

  and I saw that the majority contained general information about the website, instructions and

 rules for how to post, and welcome messages between users.

                h.           FBI SAs with VCAC have reviewed the topics within the remaining

 forums and have seen that the majority contained discussions about, and numerous images that

 appeared to depict, child pornography and child erotica depicting prepubescent girls, boys, and

 toddlers. For example:

                        i.       On September 16, 2014, a user posted a topic entitled "9yo Niece -

 Horse.mpg" in the "Pre-teen Videos -Girls HC"fonun that contained four images depicting

 what appeared to be a prepubescent girl, as well as a hyperlink to an external website that

 contained a video file depicting what appeared to be the same girl. Among other things, the

 video depicted the gir[, who was naked from the waist down with her vagina and anus exposed,

lying or sitting on top of a naked adult male, whose penis was penetrating the girl's anus.

                       ii.      On January 30, 2015, a user posted a topic entitled "Sammy" in the

forum "Pre-teen —Photos —Girls" that contained hundreds ofimages depicting what appeared to

be a prepubescent girl. One ofthese images depicted the girl being orally penetrated by the penis

of an adult male.

                      iii.      On February 3, 2015, a user posted a topic entitled "Buratino-06" in

the forum "Pre-teen —Videos —Girls HC"that contained numerous images depicting what

appeared to be a prepubescent or early pubescent girl. One ofthese images depicted the girl

being orally penetrated by the penis of a naked adult male.
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                 i.        Website A also had a list of members, accessible after registering for an

  account, which revealed that approximately 100 users made at least 100 posts to one or more of

  the fonuns. Approximately 31 ofthese users made at least 300 posts. In total, Website A

  contained thousands of postings and messages containing child pornography images. Those

 images included depictions of what appeared to be nude prepubescent minors lasciviously

 exposing their genitals or engaged in sexually explicit conduct with adults or other children.

                j,         Website A also included a feature referred to as "[Website A]Image

 Hosting." This feature of Website A allowed users to upload links to images ofchild

 pornography, which were then accessible to all registered users of Website A. On February 12,

 2015, a FBI SA accessed a post on Website A titled "Giselita," which was created by a particular

 Website A user. The post contained links to images stored on "[Website A]Image Hosting."

 The images depicted what appeared to be a prepubescent girl in various states of undress. Some

 images were focused on the nude genitals ofthe prepubescent girl, while others depicted an adult

 male's penis partially penetrating the girl's vagina.

                k.      Website A further included a section that provided forums for the

 discussion oFmethods aizd tactics to perpetrate child sexual abuse. For example:

                      i.      On January S, 2015, a user posted a topic entitled "should i proceed?"

 in the foruru "Stories -Non-Fiction" that contained adetailed -accounting of an alleged encounter

 between the user and a 5-year-old girl. The user wrote: "it felt amazing feeling her hand touch

 my dick even ifit was through blankets and my pajama bottoms . , .." The user fiu-ther stated

 that the girl "seemed really interested and was smiling a lot when she felt my cock" and ended

 his post with the question,"should I try to proceed?" A different user replied to the post and
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   stated: "(et her see the bulge or even let her feel you up ...you don't know how she might react,

   at this stage it has to be very playful...."

                         Because of the structure of Website A and the Network, it is possible for

  users to access and view images of child pornography without actually downloading the images

  ofchild pornography to their own computers or digital devices. However, as set forth below in

  detail, I know from my training and experience, and the training and experience of other law

  enforcement officers experienced in investigating crimes involving the sexual exploitation of

  children with whom I have had discussions, that people who have a sexual interest in children,

  as demonstrated by their accessing of Website A, often possess and maintain images of child

 pornography to satisfy their sexual interest.in children.

 D.      COURT AUTHORIZED USE OF THE NETWORK INVESTIGATIVE

         TECHNIQUE

         12.    Based on my training and experience, my review of the VCAC Report, and

 information related to me by other FBI SAs involved in the investigation, I know the following:

                a.      Websites generally have lP address logs that can be used to Locate and

 'identify their users. Consequently, after tl~e seizure of a website whose users were engaging in

 unlawful activity, law enforcement can aormally review the website's IP address logs in order to

 determine the 1P addresses ofthe users that accessed the website. A publicly available lockup

 can generally be performed to determuie what ISP owned the target IP addresses, after which a

 subpoena could be sent to those ISPs to determine the users to which the IP addresses were

 assigned at a given date and time.



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                 b.      However, because of the Network software utilized by Website A, any

  such IP address logs would contain only the IP addresses of the last computer through which the

  communications of Website A users were routed before the communications reached their

  destinations. The last computer, however, would not be the computer of the actual user of

  Website A who sent the communication or request for information, and it is not possible to trace

 such communications back through the Network to the actual user. Thus, Website A's IP address

 logs could not be used to locate and identify users of Website A.

                c.      Accordingl}~, on February 20,20l 5, the same day Website A was seized,

 the United. States District Court for the Eastern District of Virginia authorized a search warrant to

 allow law enforcement agents to deploy a Network Investigative Technique("NTT") on Website

 A in an attempt to identify the achial IP addresses and other identifying information of computers

 used to access Website A. Pursuant to that authorization, between February 20, 201 S, and

 approximately March 4, 2015, each time any user or administrator logged into Website A by

 entering a username and password,the FBT was authorized to deploy the NIT, which would send

 one or more communications to the user's computer. Those communications were designed to

 cause the user's computer to deliver to a computer laiown to or controlled by the government

 data that would help identify the user's computer, its location, the user of the computer, and other

 information about the user's computer, including: the computer's actual IP address and the date

 and time that the NTT determined the IP address; a unique identifies• generated by the N1T (ems., a

 series of numbers,letters, and/or special characters)to distinguish the data from that of other

 computers; the type of operating system running on the computer, including type (ems,

 Windows), version(~ Windows 7), and architecture (e.g., x 86); information about whether
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  the NIT bad already been delivered to the computer; the computer's Host Name; the computer's

  active operating system username; and the computer's MAC address.

  E.     INVESTIGATION REGARDING "QUADRUPLEDOMO"

         13.    Based on my training and experience, my review ofthe VCAC Report,

 information related to me by other FBI SAs involved in the investigation, and my own

 investigation,I know the following:

                a,      Based on data obtained from the IP address logs of Website A,law

 enforcement monitoring, and the deployment ofa NIT, FBI SAs with VCAC identified a Website

 A user with the username "quadrupledomo." The profile page of"quadrupledomo" indicated

 that the user originally registered an account on Website A on September 4, 2014. Profile

 information on "Virebsite A" could include the user's contact information, other information

 supplied by the user, and information about the user's participation on Website A,including

statistical information about the user's posts to the website and a categorization of those posts.

According to "quadrupledomo's" profile, the user was a "Newbie Member" of Website A.

Further, according to the "Statistics" section of this user's profile,"quadrupledomo" had been

actively logged into Website A for a total of seven hours, six nunutes, and 25 seconds, between

the dates of September 4, 2014, and February 28, 2015.

                       7n addition, according to the statistics on user "quadrupledomo's" profile

page, between September 4,2014, and February 28, 2015, this user made a total of

approximately three postings to Website A. The following is a description of one of these posts:

                           On October 14, 2014,"quadrupledomo" replied to a post entitled

"young teen girl emo forced to suck cock HQ with sound" in the "Girls" forum.
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  "quadrupiedomo's" reply stated: `Either the password is wrong or the file is corrupt. Is it on

  Motherless?" The original post contained a hyperlink to an external website containing the full

 file and a password to open the file. Based on the title of the post and the nature of Website A,it

  is likely that the file contained child pornography.

                 c.      On February 26,2015,"quadrupledomo," using IP address ]04.34.11120

 (the SUSPECT IP ADDRESS), browsed Website A after logging into the website with a

 usemame and password. During this session,"quadrupledomo" accessed a post entitled "l4yo

 rachiebabiie with the family dog.avi". The post contained 35 images, the majority of which

 depicted what appeared to be a minor pubescent girl, naked from the waist down. The majority

 ofthe images also depicted a brown dog licking the genital and anal areas ofthe girl.

                d.      On February 28,2015,"quadrupledomo" browsed Website A after logging

 into the website with a userna.ine and password. During this session,"quadrupledomo" accessed

 a post containing a file that contained 25 images. In some ofthese images, an adult penis

 partially penetrates the vagina of what appears to be a prepubescent girl. In other images, an

 adult penis partially penetrates the mouth of what appears to be a prepubescent girl. Also on

 February 28, 2015,"quadrupledomo" accessed a post containing a file entitled "Ashlylove on

 younow all.mp3" containing 25 images. The images depicted what appeared to be a partially

 clothed minor post-pubescent girl. In one ofthe images, the girl is lying on her back with her

 legs spread out and exposing her vagina. In other images, the same girl is lying on leer back with

 her legs spread out and holding objects that are penetrating her vagina. In both of the above-

 described sessions, "quadrupledomo's" IP address information was not collected.



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                 e.      Using publicly available websites, FBI SAs determined that the SUSPECT

  IP ADDRESS was operated by ISP Tirne Wainer Cable.

                f.      Tn March 2015, an administrative subpoena summons was served on Time

  Warner Cable requesting information related to the SUSPECT IP ADDRESS, including

 subscriber information. On or about June 30, 2Q15, I reviewed information received from Time

  Warner Cable regarding the SUSPECT IP ADDRESS. According to Time Warner Cable,from

 February 25, 2014 to March 3,2015 -- a time period that includes the day on which the

 SUSPECT IP ADDRESS was used to access 35 images of what appeared to be child

 pornography on February 26,2015 see paragraph 13(c) above)-- the SUSPECT IP ADDRESS

 was assigned to Internet subscriber Mohammed Mina at the SUBJECT'PREMTSES. Further,

 according to Time Warner Cable, the Internet service at the SUBJECT PREMISES was activated

 on December 1 I, 2014, and vas still. active as of March 7 2, 2015.

                g.     On or about May 22, 2015, I rev1ewed a report from the Accunnt

 information database(a public records database that provides names, dates of birfl~, addresses,

 associates, telephone numbers, e-mail addresses, etc.) regarding Mohammad Mirza. Accurint

 indicated that Mirza is a.ci.u-rent resident of the SUBJECT PREMISES. Acctu-int fw-ther

 indicated that Noreen Mirza, Faisal Mirza, and Haris Mirza were other possible residents ofthe

 SUBJECT PREMISES. Based on ~liese results, an FBI SA conducted additional searches in

 Accurint regarding Faisal Mirza and Hans Mirza. Accurint indicated that these individuals also

 reside at the SUBJECT PREMISES.

               h.      On or about May 22, 2015, I searched the California Department of Motor

 Vehicles("DMV")database for Mohammad Mirza. The results from the DMV database
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  indicated that an individual named "Mohammad Shabbir Mirza" is currently residing at the

  SUBJECT PREMISES.

                        On or about June 15, 2015, Task Force Officer("TFO")Sergio Perez and I

  conducted a ruse at the SUBJECT PREMISES, wherein we spoke with Mohammed Mirza under

  the guise that someone had reported that Mirza's vehicle was involved in a recent hit-and-run

 accident. During the conversation, Mirza. advised us that he lived at the SUBJECT PREMISES,

 along with his wife Noreen Mirza and son Haris Mirza.

                        As discussed above,the deployment of the NIT allowed law enforcement

 to collect identifying information from a user's computer. With respect to user

 "quadivpledomo," law enforcement learned that his/her computer had a hostname of"Noreen"

 and a logon name of"N".

      VII.        TRAINING AND EXPERIENCE ON INDIVIDUALS WITH A SEXUAL

                                        INTEREST IN CHILDREN

        14.    As set forth above, there is probable cause to believe that on or about February 26,

 2015, an individual at the SUBJECT PREMISES utilized the SUSPECT IP ADDRESS to ]og

 into Website A and access child pornography, and that on or about February 28, 2015, that

 individual or someone else at the SUB7ECT PREMISES was still accessing child pornography

 on Website A. Based on my training and experience, and the training aad experience of other

 law enforcement officers experienced in investigating crimes involving the sexual exploitation of

 children with whom I have had discussions, Y have learned that individuals who view multiple

 images of child pornography, including on web-based bulletin boards, are often individuals who



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  have a sexual interest in children and in images of children, and that there are certain

  characteristics common to such individuals:

                  a.     Individua]s who have a sexual interest in children or images of c]Iildren

  may receive sexual gratification, stimulation, and satisfaction from contact with children; or from

 fantasies they may have viewing children engaged in sexual activity or in sexually suggestive

 poses,such as in person, in photographs, or in other visual media; or from literature describing

 such activity.

                  b.    Individuals who have a se~cual interest in children or images ofchildren

 may collect sexually explicit or suggestive materials, in a variety of media, including

 photo~'aphs, magazines, motion pictuxes, videotapes, books,slides, and/or drawings or other

 visual media. Individuals who have a sexual interest in children or images of children oftentimes

 use these materials for their own sexual arousal and gratification. Further, they nlay use these

 materials to lower the inhibitions ofchildren they are attempting to seduce, to arouse the selected

 child partner, or to demonstrate the desired sexual acts.

                  c.   Individuals who have a sexual interest in children or images of children

 almost always possess and maintain their "paid copies" ofchild pornographic material, that is,

 their pictures, films, video tapes, magazines, negatives, photographs, correspondence, mailing

 lists, books, tape recordings, etc., in the privacy and security oftheir home or some other secure

 location. Individuals who have a sexual urterest in childzen or images of children typically retain

 pictures, films, photographs, negatives, magazines, correspondence, books, tape recordings,

 mailing lists, child erotica, and/or videotapes for many years.



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                           d.       Likewise, individuals who have a sexual interest in children or images of

            children often maintain their collections that are in a digital or electronic format in a safe, secure,

            and private envirorunent, such as a computer and surrounding area. These collections are often

            maintained for several years and are kept close by, usually at the collector's residence or inside

           the collector's vehicle, to enable the individual to view the collection, which is valued highly.

                           e.      Individuals who have a sexual interest in children or images of children

           also may correspond with and/or meet others to share information and materials; rarely destroy

           correspondence from other child pornography distributors/collectors; conceal such

           correspondence as they do their sexually explicit material; and often maintain lists of names,

           addresses, and telephone numbers of uidividuals with whom they have been in contact and who

           share the same interests in child pornography.

                          f.      Individuals who access hidden and embedded child pornography-related

           bulletin boards, and other forums such as newsgroups and IRC chatrooms, are typically more

           experienced child pornography collectors. These individuals likely would have gained

           knowledge about such fonuns through online communications with other individuals who have a

           sexualtnterest in children or images of children.

                          g.      Individuals who have a sexual interest in children or images of children

          prefer not to be withouf their child pornography for any prolonged time period. This behavior

           has been documented by law enforcement officers involved in the investigation of child

          pornography tluoughout the world.

                          h.      Child pornography received via computer is extremely mobile. Through

          computer technology, digital files are easily reproduced and transported. For example, with dle
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            click of a button, images and videos containing child porno~aphy can be put onto thumb drives

            so small that they fit onto a keychain. Just as easily,~ese files can be copied onto floppy disks

            or compact disks, a.nd/or stored on iPods, Blackberries, or cellular telephones. Because someone

           at the SUBJECT PREMISES likely collects and values child pornography, which is easily-stored

           and duplicated, there is probable cause to believe that evidence of a child pornography collection

           wi11 be found in the SUBJECT PREMISES.

                        VIII.       TRAINING AND EXPERIENCE ON DIGITAL DEVICES

                  15.     As used herein, the term "digital device" includes any electronic system or device

           capable ofstoring or processinD data in digital foam, including central processing units; desktop,

           laptop, notebook, and tablet computers; personal digital assistants; wireless communication

           devices, such as telephone paging devices, beepers, mobile telephones, and smart phones; digital

          cameras; peripheral inputloutput devices; such as keyboards, printers, scanners, plotters,

           monitors, and drives intended for removable media; related communications devices,'such as

          modems, routers, cables, and connections; storage media, such as hard disk drives, floppy disks,

          memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog

          tapes such as VHS); and security devices.' Based on my knowledge,training, and experience, as

          well as information related to me by agents and others involved in the forensic examination of

          digital devices, I know that data in digital form can be stored on a variety of digital devices and

          that during the search of a premises it is not always possible to search digital devices for digital

          data for a number of reasons, including the following:

                         a.      Starching digital devices can be a highly technical process that requires

          specific expertise and specialized equipment. There are so many types of digital devices and

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               software programs in use today that it is impossible to bring to the search site a1I of the necessary

               technical manuals and specialized equipment necessary to conduct a thorough sea~•ch. In

               addition, it may be necessary to consult with specially trained personnel who have specific

               expertise in the types of digital devices, operating systems, or software applications that aze being

              searched.

                              b.      Digital data is particularly vulnerable to inadvertent or intentional

              modification or destruction. Searching digital devices can require the use of precise, scientific

              procedures that are designed to maintain the integrity of digital data and to recover "hidden,"

              erased, compressed, encrypted, orpassword-protected data. As a result, a controlled

              environment, such as a law enforcement laboratory or similar facility, is essential to conducting a

              complete and accurate analysis of data stored on digital devices.

                             c.      The volume of dafa stored on many digital devices will typically be so

              large that it wi11 be highly impractical to search for data during the physical search of the

             premises. A single megabyte ofstorage space is the equivalent of500 double-spaced pages of

             text. A single gigabyte of storage space, ox 1,000 megabytes, is the equivalent of 500,000

             double-spaced pages oftext. Storage devices capable ofstoring 500 or more gigabytes are now

             commonplace. Consequently,just one device might contain the equivalent of250 million pages

             of data, which, if printed out, would completely fill three 35' x 35' x 10' rooms to the ceiling.

             Further, a 500 gigabyte drive could contain as many as approximately 450 fixll run movies or

             450,000 songs.

                             d.      Electronic files or remnants ofsuch files can be recovered months or even

             yea~•s after they have been downloaded onto a hard drive, deleted, or viewed via the Internet.

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            Electronic files saved to a hard drive can be stored for years with little or no cost. Even when

            such files have been deleted, they can be recovered months or years later using readily-available

            forensics tools. Normally, when a person deletes a file on a computer, the data contained in the

            file does not actually disappear; rather, that data remains on the hard drive until it is overwritten

            by new data.. Therefore, deleted files, or remnants of deleted files, may reside in free space or

           slack space, _i e., space on a hard drive that is not allocated to an active file or that is unused after

           a file has been allocated to a set block of stora.ae space, for long periods of time before they are

           overwritten. In addition, a computer's operating system may also keep a record of deleted data in

           a swap or recovery file. Similarly, files that have been viewed on the Internet are often

           automatically downloaded into a temporary directory or cache. The browser typically maintains

           a fixed amount of hard drive space devoted to these fi]es, and the files are only overwritten as

           they axe replaced with more recently downloaded or viewed content. Thus, the ability to retrieve

           residue ofan electronic file from a ha~•d drive depends less on when the file was downloaded or

           viewed than on a particular user's operating system, storage capacity, and computer habits.

           Recovery ofresidue of electronic files from a hard drive requires specialized tools and a

           controlled laboratory enviroriinent. Recovery also can require substantial time.

                          e.      Although some ofthe records called for by this warrant might be found in

           the form ofuser-generated docluuents(such as word processing, picture, and movie files}, digital

           devices can contain other forms of electronic evidence as well. In particular, records of how a

           digital device has been used, what it has been used for, who has used it, and who has been

           responsible for creating or maintaining records, documents, programs, applications, and materials

           contained on the digital devices are, as described further in the attachments, called for by this

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           warrant. Those records will aiot always be found in digital data that is neatly segregable from the

           ha~•d drive image as a whole. Digital data on the ha~•d drive not currently associated with any file

           can provide evidence of a file that was once on the bard drive but has since been deleted or

           edited, or of a deleted portion of a file (such as a paragraph that has been deleted from a word

          processing fle). Virtual memory paging systems can leave digital data on the hard drive that

          show what tasks and processes on the computer were recently used. Web browsers, e-mail

          programs, and chat programs ofren store configuration data on the hard drive that can reveal

          information such as online nicknames and passwords. Operating systems can record additional

          data, such as the attachment ofperipherals, the attachment of USB flash storage devices; and the

          times the computer was in use. Computer file systems can record data about the dates files were

          created and the sequence in which they were created. This data can be evidence of a crime,

          indicate the identity ofthe user of the digital device, or point toward the existence of evidence in

          other locations. Recovery of this data requires specialized tools and a controlled laboratory

          environment, and also can require substantial time.

                         f.      Further, evidence of how a digital device has been used, what it has been

          used- for, and who has used it, may be the absence of particular data on a digital device. For

          example, to rebut a claim that the owner of a digital device was not responsible for a particular

          use because the device was being controlled remotely by malicious software, it may be necessary

          to show that malicious software that allows someone else to control the digital device remotely is

          not present on the digital device. Evidence of the absence ofparticular data on a digital device is

          not segregable from the digital device. Analysis ofthe digital device as a whole to demonstrate



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                 the absence of particulaz data requires specialized tools and a controlled laboratory environment,

                 and can require substantial time.

                        16.      Other than what has been described herein, to my knowledge, the United States

                has not attempted to obtain this data by other means.

                                                         IX. CONCLUSION

                17.    For all the reasons described above, there is probable cause to believe that evidence,

                fruits, and instrumentalities of violations of l 8 U.S.C. § 2252A(a)(5)(B)(access with intent to

                view and possession ofchild pornography), as described above and in Attachment B to this

                affidavit, will be found in a search ofthe SUBJECT PREMISES, which is further described

                above and in Attachment A to this affidavit.



                                                                        /~
                                                               TIANA KOSTIC,SPECIAL AGENT
                                                               FEDERAL BUREAU OF INVESTIGATION


                SUBSCRIBED TO AND SWORN BEFORE ME
                ON NLY 10,2015


                              JACQUELINE CHQOLlIAN

                HONORABLE JACQUELINE CHOOLJTAN
                UTIITED STATES MAGISTRATE JUDGE




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